
*630OPINION.
Smith:
The only point in issue in this proceeding is whether an ordinary partnership existed between the petitioner and his father from January 1, 1921, to May 11,1923, inclusive. In his petition the petitioner alleges the existence of a partnership between himself and his father prior to May 12, 1923, based upon an oral contract. There is not sufficient evidence in the record, however, of the entering into any such contract on the part of father and son. The father’s credit was ruined by reason of the bankruptcy proceedings. The father had judgments outstanding against him and it was apparently the intention of both parties that the assets of the business should be beyond the reach of the father’s creditors. We are of the opinion that the evidence does not warrant any finding of fact that a partnership existed between the father and son prior to May 12, 1923.
Reviewed by the Board.
Judgment will be entered on 15 days’ notice, under Bule 50.
